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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re                                                         Chapter 11

 STREAM TV NETWORKS, INC.,                                     Case No.: 23-10763 (AMC)
                                                               (Jointly Administered)1
          Debtors.


                         NOTICE OF ORAL DEPOSITION DUCES TECUM

          PLEASE TAKE NOTICE that Visual Semiconductor, Inc. (“VSI”) by and through their

 undersigned counsel, pursuant to Rules 30 and 45 of the Federal Rules of Civil Procedure, as made

 applicable by Rule 7030 of the Federal Rules of Bankruptcy Procedure, will take the oral

 deposition of Kevin Gollop (the "Deponent") on November 6, 2024 at 10:00 a.m. (ET).

          PLEASE THAT FURTHER NOTICE that the deposition will continue day to day until

 completed or adjourned by mutual consent of the parties, at the law office of Akerman LLP, 222

 Delaware Avenue, Suite 1710, Wilmington, Delaware 19801. The deposition will be conducted

 under oath before a certified court reporter, recorded stenographically and may be videotaped.

          PLEASE TAKE FURTHER NOTICE that the Deponent is further requested to produce

 all documents described on the attached Schedule "A." In order to expedite the deposition, please

 deliver via electronic transmission, copies of the documents, electronically stored information, or

 objects described in the attached “Schedule A” to the undersigned counsel at Akerman LLP, 500

 West 5th Street, Ste. 1210, Austin, Texas 78701 or via email to adam.swick@akerman.com on or

 before October 25, 2024.




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  On April 11, 2023, the Court entered an order directing joint administration of the above-captioned case and In re
 Technovative Media, Inc.; Case No. 23-10764 (AMC). (D.I. #81).
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 Dated: October 11, 2024                 Respectfully submitted,

                                         AKERMAN LLP

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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 11, 2024, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served on this day by transmission of Notices of Electronic Filing generated by CM/ECF

 to those parties registered to receive electronic notices of filing in this case, and via email to the

 following parties as follows:

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                                                  /s/ R. Adam Swick
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